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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 DARLENE BAUMANN, individually and                CASE NO. 3:20-CV-03289-BRM-
 on behalf of all others similarly situated,      ZNQ

             Plaintiffs,

 v.                                               [PROPOSED] ORDER
                                                  GRANTING MOTION FOR
 PALMER ADMINISTRATIVE                            LEAVE TO APPEAR PRO
 SERVICES, INC., a Delaware                       HAC VICE
 Corporation,

               Defendant.


      The Court, having considered Plaintiffs’ Motion for the admission pro hac

vice of attorneys, Patrick H. Peluso and Taylor T. Smith, and being duly advised in

the premises, it is hereby ORDERED as follows:

      1.     The Motion is GRANTED;

      2.     Patrick H. Peluso and Taylor T. Smith are hereby admitted pro hac

vice and may appear as counsel for Plaintiffs;

      3.     Pursuant to Local Rule 101(c)(2), Mr. Peluso and Mr. Smith shall pay

the annual fee to the New Jersey Lawyers’ Fund for Client Protection within 20

days from the date of this Order if, Mr. Peluso and Mr. Smith have not already

done so in 2019;

      4.     Pursuant to Local Rule 101(c)(3), Mr. Peluso and Mr. Smith shall
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each make a payment of $150 upon their respective admission, payable to the

Clerk of the United States District Court for the District of New Jersey;

       5.      Mr. Peluso and Mr. Smith shall be bound by Rules of this Court.

IT IS SO ORDERED

                                        s/ Zahid N. Quraishi

Signed: June 4, 2020                          Hon.
                                        Zahid N.     Brian R. Martinotti
                                                 Quraishi
                                        United States Magistrate Judge
